     Case 2:19-cr-00658-KM Document 1 Filed 07/06/18 Page 1 of 4 PageID: 1



                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA                              CRIMINAL COMPLAINT

            V.                                        Magistrate No. 18-4125

DARRYL DANCY




        I, Michael Bustard, being duly sworn, state the following is true and correct to the best of
my knowledge and belief. On or about June 19, 2018, in Essex County, in the District of New
Jersey and elsewhere, defendant DARRYL DANCY did:

                                     SEE ATTACHMENT A

      I further state that I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms
and Explosives and that this complaint is based on the following facts:

                                     SEE ATTACHMENT B

Continued on the attached pages and made a part hereof.




                                                     Michael Bustard
                                                     Bureau of Alcohol, Tobacco,
                                                     Explosives


Sworn to before me and subscribed
in my presence, on this 6
                        th
                           day of
July, 2018, in Newark, New Jersey

HONORABLE MICHAEL A. HAMMER
United States Magistrate Judge                        Signature of Judicial Officer
1         Case 2:19-cr-00658-KM Document 1 Filed 07/06/18 Page 2 of 4 PageID: 2




                                          ATTACHMENT A

           On or about June 19, 2018, in Essex County, in the District of New Jersey, and
    elsewhere, the defendant,
                                         DARRYL DANCY,

    having been convicted of a crime punishable by imprisonment for a term exceeding one year in
    the Superior Court of New Jersey, Criminal Division, Essex County, did knowingly possess in
    and affecting commerce firearms, namely: (a) a Kel-Tec Model PLR1 6 .223 caliber
    semiautomatic pistol, bearing serial P0C58; (b) a Smith & Wesson Model 5W191 1PD, .45
    caliber semiautomatic handgun, bearing serial number JRJ2O9 1; (c) a Smith & Wesson Model
    SW4OVE, .40 caliber semiautomatic handgun, bearing a defaced serial number; (d) a Smith &
    Wesson Model 63 8-3, .38 caliber revolver, bearing serial number CMY7698; (e) an Iver Johnson
    Model Supershot Sealed Eight, .22 caliber revolver, bearing serial number L35080; (f) a Pietro
    Beretta Model 92FS, 9-millimeter semiautomatic handgun, bearing serial number J25615Z; (g) a
    Kel-Tec Model SUB-2000, .40 caliber semiautomatic rifle, bearing serial number E2156; (h) an
    Anderson Manufacturing Model AM-15, .223 caliber semiautomatic rifle, bearing serial number
    16052747; and (i) a Mossberg Maverick Model 88, 12 gauge pump-action shotgun, bearing
    serial number MV69340K.

           In violation of Title 18, United States Code, Section 922(g)(1) and Section 2.




     ‘a
     Case 2:19-cr-00658-KM Document 1 Filed 07/06/18 Page 3 of 4 PageID: 3




                                        ATTACHMENT B

        I, Michael Bustard, am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms
and Explosives and I am fully familiar with the facts set forth herein based on my own
investigation, my conversations with other law enforcement officers, and my review of reports,
documents, and photographs of the evidence. Where statements of others are related herein,
they are related in substance and part. Because this complaint is being submitted for a limited
purpose, I have not set forth each and every fact that I know concerning this investigation.
Where I assert that an event took place on a particular date, I am asserting that it took place on or
about the date alleged.

       1. On or about December 21, 2001, defendant DARRYL DANCY was convicted in the
Superior Court of New Jersey, Essex County, for Theft, in violation of N.J.S.A. 2C:20-3, and
Receiving Stolen Property, in violation of N.J.S.A. 2C:20-7, both of which are crimes punishable
by imprisonment for a term exceeding one year.

       2. On or about June 19, 2018, law enforcement executed a search warrant on DARRYL
DANCY’s residence in Newark, New Jersey. During the course of the search, law enforcement
found, among other things, the following items:

             (a) a stolen Kel-Tec Model PLR1 6 .223 caliber semiautomatic pistol, bearing serial
       number P0C58;

             (b) a stolen Smith & Wesson Model SW1911PD, .45 caliber semiautomatic
       handgun, bearing serial number JRJ2O9 1;

              (c) a Smith & Wesson Model SW4OVE, .40 caliber semiautomatic handgun,
       bearing a defaced serial number;

            (d) a Smith & Wesson Model 63 8-3, .38 caliber revolver, bearing serial number
       CMY7698;

               (e) an Iver Johnson Model Supershot Sealed Eight, .22 caliber revolver, bearing
       serial number L35080;

               (f) a Pietro Beretta Model 92FS, 9-millimeter semiautomatic handgun, bearing
       serial number J25615Z;

               (g) a stolen Kel-Tec Model SUB-2000, .40 caliber semiautomatic rifle, bearing
       serial number E2156;

              (h) an Anderson Manufacturing Model AM-l5, .223 caliber semiautomatic rifle,
       bearing serial number 16052747;

                                               -2-
     Case 2:19-cr-00658-KM Document 1 Filed 07/06/18 Page 4 of 4 PageID: 4




               (i) a stolen Mossberg Maverick Model 88, 12 gauge pump-action shotgun,
        bearing serial number MV69340K;

               (j) two firearms silencers;

               (k) one clear plastic bag containing approximately 210 grams of a powdery
        substance believed to be heroin;

               (1) one clear plastic bag containing approximately 18 grams of a powdery
        substance believed to be heroin;

               (m) one clear plastic bag containing approximately 6 grams of a powdery
        substance believed to be heroin;

              (n) approximately 200 clear glassine bags containing a powdery substance
       believed to be heroin;

              (o) various narcotics packaging materials, including clear glassine envelopes,
       stamps used to label the clear glassine bags, sifters, grinders, digital scales, and money
       counters;

               (p) approximately $22,000 in United States currency;

               (q) numerous rounds of ammunition;

               (r) two firearms silencers; and

               (s) one bulletproof vest.

        3. Based on my knowledge of and experience with firearms and ammunition, I have
reason to believe that the firearms listed in paragraphs 2(a) through (i) hereinabove are, in fact,
firearms, that these firearms were manufactured outside the State of New Jersey, and that these
firearms therefore traveled in interstate comn-ierce prior to June 19, 2018.




                                                 -3-
